
*606ORDER
Based upon the Court’s concurrence with the opinion of the Committee on Professional Responsibility that the crime of which W. D. Atkins, Jr. has been convicted constitutes a serious crime, the necessary element of which reflects upon said attorney’s moral fitness to practice law:
IT IS ORDERED BY THE COURT, that W. D. Atkins, Jr. be and he is hereby suspended from the practice of law and said attorney’s license to practice is hereby suspended.
It is further ordered that the Committee institute the necessary disciplinary proceedings against W. D. Atkins, Jr., seeking his disbarment or other remedy deemed appropriate, all in keeping with Article XV of the Articles of Incorporation of the Louisiana State Bar Association, provided however, that the disciplinary proceedings so instituted will not, unless requested by the accused, be brought to a hearing until all appeals from the conviction are concluded.
REHEARING DENIED.
